Case 2:20-cv-05581-DSF-GJS Document 287 Filed 07/18/22 Page 1 of 4 Page ID #:5951

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL
 Case No.       2:20-cv-05581-DSF-GJS                                  Date      July 18, 2022
 Title          Beyond Blond Productions, LLC v. Edward Heldman III et al



 Present:                  Hon. Gail J. Standish, United States Magistrate Judge
                 Elisa Quintero                                              N/A
                 Deputy Clerk                                    Court Reporter / Recorder
          Attorneys Present for Plaintiff:                Attorneys Present for Defendants:
                   None present                                         None present

 Proceedings:           ORDER (IN CHAMBERS) GRANTING IN PART
                        PLAINTIFF’S MOTION FOR AN CONTEMPT [249] AND
                        REQUIRING USE OF SPECIAL MASTER AND IT FORENSIC
                        SPECIALIST



       On June 23, 2022, the Court held a hearing on Plaintiff’s Motion for Contempt,
which alleged, inter alia, that Defendants had not complied with the requirements of the
Court’s previous Order regarding certain discovery. The Court’s Previous Discovery
Order [Dkt. 232], required all responsive document to be produced by April 29, 2022, at
5 p.m. The Court also found that Defendants’ failures to produce documents and
otherwise engage in discovery, and the complete lack of merit in Defendants opposition
to Plaintiff’s motion to compel, warranted the shifting of attorneys’ fees. The Court
made an award that is not the subject of Plaintiff’s present motion to compel.

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CV-90 (10/08)                          CIVIL MINUTES - GENERAL                                   Page 1 of 4
Case 2:20-cv-05581-DSF-GJS Document 287 Filed 07/18/22 Page 2 of 4 Page ID #:5952

                           UNITED STATES DISTRICT COURT
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         In the Court’s Prior Discovery Order, the Court also noted and ordered as follows:




      Plaintiff’s present motion to compel provides uncontroverted evidence that
Defendants have willfully violated the Court prior discovery order by not producing the
vast majority of responsive documents or any privilege log. Nor did Defendants provide
the declaration required by the Prior Discovery Order.

       Plaintiffs’ Motion also details heinous statements made by defendant Heldman to
and about Plaintiff’s Counsel as well as certain statements about both judicial officers
assigned to this matter. The Court need not address specifically these statements, as they


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CV-90 (10/08)                        CIVIL MINUTES - GENERAL                              Page 2 of 4
Case 2:20-cv-05581-DSF-GJS Document 287 Filed 07/18/22 Page 3 of 4 Page ID #:5953

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL
 Case No.       2:20-cv-05581-DSF-GJS                            Date      July 18, 2022
 Title          Beyond Blond Productions, LLC v. Edward Heldman III et al

were also the subject of motion practice before the District Judge and consequent orders.
[Dkt. 272 (District Judge’s Order).]

       For the reasons set forth in detail at the hearing on Plaintiff’s Motion, the Court
finds and orders the following:

         1. Because Defendants did not produce a privilege log, all privileges are waived.
            The Court previously held that Defendants waived privilege except those
            related to the present litigation. Given Defendants failure to comply with any
            of the Court’s prior discovery rulings, including timely production of any
            documents or preparation of a privilege log, the Court now holds that all
            privileges – including for work product related to litigation – have been waived.
            Defendants are to produce all requested documents without redaction within
            two (2) weeks of this order.

         2. Plaintiff’s Request that affirmative defenses 1 – 9 be stricken is denied without
            prejudice. The District Judge must approve any such sanction. Plaintiff’s may
            refile this request, seeking a recommendation from the Magistrate Judge to the
            District Judge or directly with the District Judge, upon a showing of prejudice
            at a later date.

         3. At the hearing, the Court ordered the parties to provide a selection of proposed,
            agreed to Special Masters, because the Court orders that any depositions of
            defendant Heldman be overseen by a Special Master. The parties agreed that
            any of the retired judicial officers listed below would be acceptable to both
            sides. The Court therefore orders that the parties contact one or more of the
            following to obtain their availability. The deposition or depositions of
            defendant Heldman will be conducted via Zoom (given the threats made by
            Heldman to Plaintiff’s counsel) and will be overseen by one of the following
            retired judicial officers. Defendants are to pay for the use of the Special
            Master. Defendants must provide a retainer to the Special Master in the amount



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CV-90 (10/08)                         CIVIL MINUTES - GENERAL                              Page 3 of 4
Case 2:20-cv-05581-DSF-GJS Document 287 Filed 07/18/22 Page 4 of 4 Page ID #:5954

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-05581-DSF-GJS                            Date       July 18, 2022
 Title             Beyond Blond Productions, LLC v. Edward Heldman III et al

                of one full day at the rate of the Special Master chosen. Payment of the retainer
                is to be made before the deposition is conducted.

                   a. Hon. Patrick J Walsh (Ret.): https://signatureresolution.com/neutral-
                      CPT/hon-patrick-j-walsh-ret/

                   b. Hon. Suzanne H. Segal (Ret.): https://signatureresolution.com/neutral-
                      CPT/hon-suzanne-h-segal-ret/

                   c. Hon. Elizabeth D. Laporte (Ret.): https://www.jamsadr.com/laporte/

                   d. Hon. James C. Francis IV (Ret.): https://www.jamsadr.com/francis/

         4. At the Zoom deposition, both defendant Heldman and his counsel must be
            clearly visible to prevent any coaching or other improper behavior.

         5. The Court also orders that Defendants retain, at their expense, an IT Forensics
            Specialist to conduct the forensic analysis discussed on the record at the hearing
            related to imaging and analysis of defendant Heldman’s computer, a removable
            hard drive, an iPhone, and an iPad. The parties agree that the specialists at
            either of the following websites would be appropriate for such an analysis:
            www.innovativedriven.com www.idiscoverglobal.com. Plaintiff may select
            from either of the two specialists. Defendants are to provide the selected
            specialist with a $5,000 retainer by no later than one week after the date of this
            order, and additionally must provide the relevant electronic devices to be
            imaged within 3 business days after that at a date amenable to the IT specialist.

         IT IS SO ORDERED.

cc: District Judge




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CV-90 (10/08)                             CIVIL MINUTES - GENERAL                              Page 4 of 4
